Case 4:20-cv-00957-SDJ   Document 739-1 Filed 12/30/24   Page 1 of 2 PageID #:
                                   47467




                         EXHIBIT 6
                         REDACTED
           Case 4:20-cv-00957-SDJ             Document 739-1 Filed 12/30/24           Page 2 of 2 PageID #:
                                                        47468
  Message

  From :                      @google.com ]
  Sent:         4/22/2019 5:04:38 PM
  To:
  Subject:      Re: Second price auct ion question



  Google is now using a first-price auction for the final placement of advertisers on publishers. This is because 1)
  it is slightly better for publishers, 2) the ad agencies prefer the first price to manage their spend better. So both
  the demand side and the supply side of the market wanted fust price, albeit for different reasons.

  In theory there should be no difference between the revenue from a dynamic first price auction (where bidders
  can refine their bids in real time) and a sealed second price. In each case, the bidder who has the highest value
  wins and just has to pay the bid of the second highest bidder. The second-bid model gets to that price in one
  step while the fust-bid model iterates. This was an important difference 20 years ago in terms of computing
  power, but in today's world of real-time bidding, it doesn't make much difference.

  See the wikipedia article on revenue equivalence for more.

  On Mon, Apr 22, 2019 at 9:52 AM                               Zv,gmail.com> wrote:
   Hey   ,

   I saw an article recently that claimed that Google was abandoning the second price auction and going to first
   price. Can you explain? I thought second price was one of the innovations that made Google's auction more
   successful, because people always knew that the price they were paying was fair.

   Any insights on how the results have changed so far?




HIGHLY CONFIDENTIAL                                                                             GOOG-AT-MDL-017791414
